                EXHIBIT N




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Medical Providers Identified in Plaintiffs’     Add'l Providers Identified by Plaintiffs’     Add'l Medical Providers Identified by
     Verified Discovery Responses               Counsel in Unverified 10-Year Medical          Plaintiffs’ Counsel in 7/28/22 Ltr.
                                                                  History
                                                            Timothy Murphy
None Provided                                 Wise Eye Clinic                               Benning Martin Army Community Hospital
                                              Sandhill Medical Clinic                       Nature Coast Medical Group
                                              Clarks Clinic                                 Womack Army Medical Center
                                                                   O.M.
None Provided                                 Shands Hospital                               Cape Fear Valley Medical Center
                                              Alliance Pediatrics                           Carolina Child Neurology
                                              Kidzcare Pediatrics                           UF Health
                                              Womack Hospital
                                              Cape Fear Hospital
                                              Cape Fear Pediatrics
                                                            Katelyn Murphy
None Provided                                 Cape Fear Family Medicine                     Cape Fear Orthopedic Clinic
                                              Shands Hospital                               Womack Army Medical Center
                                              UF Health Internal Medicine
                                                            Spenser Ganske
Robinson Clinic                                                                             96th Medical Group
PT Tests
Womack ER
Vaccinations in Florida
                                                            Emily Ganske
Robinson Clinic                               St. Joseph
                                              Womack ER
                                                              Shane Page
Robinson Clinic                                                                             Guthrie Ambulatory Care Center
Joel Clinic                                                                                 Womack Army Medical Center
Team medic
Sick call
                                                                C.F.
Robinson Clinic                                                                             Womack Army Medical Center
Joel Clinic                                                                                 Mountain View Pediatrics
                                                                B.H.
Robinson Clinic                                                                             Womack Army Medical Center
Joel Clinic

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                                                           E.W.
Phycinity PLLC                                                                    Landstuhl Regional Medical Center
Pediatric orthopedic surgeon at Duke and then
UNC
Wiesbaden Health Clinic
                                                           B.W.
Pleasant View Children’s Clinic                                                   VIP Children’s Clinic
Blanchfield Army Community Hospital
Phycinity PLLC
Womack Medical Center ER
Wiesbaden Health Clinic

                                                        Ashley Wilkes
Dental work in Springfield, TN                                                    Vanderbilt University Medical Center
“May have gone to an urgent care” in
Springfield, TN
Vanderbilt Center for Women’s Health
Baby & Co.
Womack Army Medical Center
Fayetteville Women’s Health
Wiesbaden Health Clinic
Landstuhl Regional Medical Center




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